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EXPLANATORY NOTICE TO THE PUBLIC

CLS never charges attorney's fees to its clients, although in some cases clients are
asked to pay for court filing fees or other out of pocket expenses.

The attached chart lists the fee schedule used by CLS only in cases in which the law
allows for the award of attorney's fees from opposing parties in order to compensate
CLS for the legal services provided to its clients.

RANGE OF HOURLY RATES?%, Effective January 19, 2023
Attorneys post-law

school experience
under 2 years

$235-
260

Attorneys 2-5 year’s $265-

experience 315
Attorneys 6-10 $320-
year’s experience 415
Attorneys 11-15 $420-
year’s experience 525

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Paralegal 1-10 years $190-

experience 240
Senior and $245-
Supervisory

285
Paralegal

*These rates do not reflect any adjustment for contingency, and are based on
Philadelphia law firm market survey data and increases in the Consumer Price Index.

THESE FEES ARE NOT CHARGED TO CLS CLIENTS. SEE NOTICE ABOVE.

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